      Case 3:17-cv-00675-WKW-WC Document 9 Filed 11/16/17 Page 1 of 1



            IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE MIDDLE DISTRICT OF ALABAMA
                          EASTERN DIVISION

SYLVESTER DAVIS, JR., # 211672,         )
                                        )
            Petitioner,                 )
                                        )        2:17cv675-WKW
       v.                               ) CASE NO. 3:17-CV-690-WKW
                                        )
JEFFERSON S. DUNN, et al.,              )
                                        )
            Respondents.                )

                                    ORDER

      The Clerk of Court is DIRECTED to strike Petitioner Sylvester Davis, Jr.’s

petition for writ of habeas corpus (Doc. # 1) and docket this same document as an

amendment to Davis’s § 2254 petition in Civil Action No. 3:17cv675-WKW.

      The Clerk of the Court further is DIRECTED to close this case (Civil Action

No. 3:17cv690-WKW).

      DONE this 16th day of November, 2017.

                                 /s/ W. Keith Watkins
                               CHIEF UNITED STATES DISTRICT JUDGE
